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 1                                                             Hon. Richard A. Jones
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 6                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON
 7                                AT SEATTLE
 8   NICHOLAS T. PINES,                        )
                                               )    CASE NO. 19-CV-512 RAJ
 9                                             )             17-CR-187 RAJ
           Defendant-Petitioner,               )
10                                             )    ORDER GRANTING 28 U.S.C. §
           v.                                  )    2255 MOTION AND ORDER
11                                             )    VACATING JUDGMENT,
     UNITED STATES OF AMERICA,                 )    WITHDRAWING GUILTY PLEA
12                                             )    AND DISMISSING INDICTMENT
           Plaintiff-Respondent.               )
13                                             )
                                               )
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           BEFORE THE COURT is Nicholas Pines’ Motion under 28 U.S.C. § 2255 to
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16   Vacate, Set Aside, or Correct a Sentence by a Person in Federal Custody. Dkt. No. 1.

17   In 17-CR-187-RAJ, in a judgment imposed on April 6, 2018, Mr. Pines was
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     convicted of one count of felon in possession of a firearm under 18 U.S.C.
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     § 922(g)(1). The alleged predicate conviction was a King County Superior Court
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21   Juvenile Department disposition for one count of taking a motor vehicle without

22   permission under King County Sup. Ct. No. 00-8-01729-6. Mr. Pines’s petition
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     under § 2255 was based in part on claims of actual innocence and ineffective
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     assistance of counsel because the predicate conviction from Washington State was
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26   not punishable by a term exceeding one year.


      ORDER – 1
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 1          Upon the agreement of the parties, the Court stayed consideration of this
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     matter pending the decision of the Ninth Circuit in United States v. McAdory,
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     No. 18-30112. Dkt. Nos. 9, 13. On August 28, 2019, the Ninth Circuit issued its
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 5   decision in United States v. McAdory, 935 F.3d 838 (9th Cir. 2019). Dkt. No. 15.

 6   On November 18, 2019, the Government filed a status report, stating that the Office
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     of the Solicitor General of the United States elected not to seek further review in
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     McAdory, and that based on the Ninth Circuit’s opinion in McAdory, the
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10   Government would concede Mr. Pines’ motion to vacate his conviction in 17-CR-

11   187-RAJ. Dkt. No. 15.
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            Accordingly, IT IS HEREBY ORDERED:
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            1.     Mr. Pines’ Motion to Vacate, Set Aside, or Correct a Sentence by a
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15   Person in Federal Custody, Dkt. No. 1, is hereby GRANTED;

16          2.     The Judgment in a Criminal Case imposed on April 6, 2018, Dkt. No.
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     38 of 17-CR-187-RAJ, is hereby VACATED;
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            3.     The plea of guilty entered on January 16, 2018, in accordance with the
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20   plea agreement, Dkt. No. 24 of 17-CR-187-RAJ, is hereby WITHDRAWN;

21          4.     The indictment in 17-CR-187-RAJ. Dkt. No. 13, is DISMISSED
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     WITH PREJUDICE; and
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      ORDER – 2
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 1         5.     The pending petitions for revocation of supervised release and any
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     related sentencing matters for those petitions in 17-CR-187-RAJ are hereby
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     STRICKEN.
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 6       DATED this 5th day of December, 2019.
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                                                    A
                                                    The Honorable Richard A. Jones
                                                    United States District Judge
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      ORDER – 3
